Exhibit

Fy b

Case 3:23-cv-00340 Document 56-6 Filed 03/13/24 Page 1 of 3 PagelD #: 733

Zt 866E11L27rS2S796606-s:2-Bsui=|duisgegse | LA7pSZSp96606-1:e-Sswi=piGsuuued9|/e=yoieasg}d=malAgopiogs | dep=4lé/0/N/[lew/wW0o"a|S006-pewy/:sdyy

MLS
x90p’S1OV4 GALNdSIGNN AO LNAWALVLS ONI V1 AZYOO le

GL —
xoop’edue Bueey dayjesjsiulwpe 10} jsanba du ea] Aal025 (ie

8st Ez
3pd°(L) SpSppLLzozszoL <=
69 Ez
spd-(€) oSOSPLLzOzszoL &=
Wel EZ
spd'(p) OLLSPLLZozSzoL ©

MLOr E
spd'(Z) 9zLSpLEzozszoL &=

HBL) EE
spd"(L) 2SLSpLLzozszop ==

E
spd:(Z) LpzspLbzozszoL ==

Page 2 of 3 PagelD #: 734

ev E
spd°(z) LpSSPLLZOzSzOL &=

Filed 03/13/24

s}usWYoeye ¢1

“uoTFeUUOjU! Buyeyxoop pseMJo} pue |lewe si} Bulateoes eBpajmouyoe eseaig

<AoB-epsn@uowpjob eukemap> oq ‘uo}Buiysen, ‘O3S0 - auAemaq ‘uowpiog, ‘aob-epsn@sS3ao0'OASOV ASO WS ‘<Aob-epsn-eyoO)IIH ouloseg> ,Og ‘uo}Burysen,
TTVO-VHO - SUD ‘IIH, ‘<AoB-epsn@uoyeaipn[pyweiBolg YOSVO'WS> ,voHeaipn[pywesbolg YOSVO WS, ‘A06'epsn'eyo@sye|Qbuveey WHO'S :OL

Wd S¥:b 38 ZZ07 ‘77 AON ‘ony

“Bio uoHeEpUuNo{4UMO MODEL
JOPAIIG SAWNDEXy
ea7] Adl0D

Document 56-6

INO, yueyL

<WOd }eWBOuoyepungumowmod> vay Aei0g

Vduv 0} }uensind fy au} ai0joq Buresy e 10) sonboy

<wos iewbQuonepunojumowmod> ea} Aa105

Wd¥V 0} JUeNsind ¢Ty ay) aiojaq Bueay e Joy senbay - ews

Case 3:23-cv-00340

We 22:2) ‘Pe/bLe
ele

SE6ELL-LZZPSzS796606~:2-Bsw=|duisege6e |} 2/77S2S796606-4-2-Bsu=piSsuuuedge=yoieesgid=maing Oyo qap=mlé/O/n/ewW/W09'aiBoob jeuy:sdyy

VWduly 0} Juensund pty eu} suojeq Buyesy e 10) jsanbey - pews

Page 3 of 3 PagelD #: 735

Filed 03/13/24

Document 56-6

_ y9S9 EK
spd-(z) (tL) (L) POT 4-EL000-HOSV-9L02 <=

SPL E
spd‘(p) LozppLLzozszoL <=

Case 3:23-cv-00340

zg Ee
spd-(9) szZpyLbzozszoL *=

wel EE
spd-(¢) zSzppLLzozszor *=
Wd Z2:2b ‘Ve/LL/e
